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                                       United States District Court
                                        Western District of Texas
                                                 Waco
                                           Deficiency Notice


To:            Devlin, Timothy
From:          Court Operations Department, Western District of Texas
Date:          Monday, July 18, 2022
Re:            06:20-CV-00251-ADA / Doc # 151 / Filed On: 07/18/2022 10:01 AM CST

Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it is
deficient in the area(s) checked below. Please correct the deficiency(ies), as
noted below, and re-file document IMMEDIATELY. When re-filing document,
other than a motion, please ensure you add ‘corrected’ to the docket text. If
the document you are re-filing is a motion, select ‘corrected’ from the drop-
down list.

If an erroneous filing results in failure to meet a deadline, you will need
to seek relief, for any default, from the presiding judge.
(1) Other
   Remarks: Please remove the word "proposed" from the proposed Order.
